     Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 1 of 65




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

TROJAN BATTERY COMPANY LLC,                                 )
    Plaintiff,                                              )
                                                            )
v.                                                          )        Civil Action No. 4:21-cv-03075
                                                            )
TROJAN EV LLC and GOLF CARTS                                )
OF CYPRESS LLC,                                             )
                                                            )
        Defendant.                                          )


                          DECLARATION OF SIMON J. HARRALL

        I, Simon J. Harrall, declare as follows:

        1.       I am employed as an attorney in the Houston office of Patterson + Sheridan LLP

(“Patterson + Sheridan”), which is located at 24 Greenway Plaza, Houston, Texas 77046. I am

over twenty-one years of age, and I am fully competent to make this declaration. The facts set

forth in this declaration are based on my personal knowledge, and these facts are true and

correct. If called upon to testify, I could and would competently testify to these facts.

        2.       On September 29, 2022 and October 3, 2022, I used the Google Chrome browser

on my work computer to access via the internet certain pages from the Trademark Electronic

Search System (“TESS,” https://www.uspto.gov/trademarks/search/using-trademark-electronic-

search-system)      and    the   Trademark         Status       &     Document         Retrieval   (“TSDR,”

https://tsdr.uspto.gov/) facility of the website of the United States Patent and Trademark Office

(“USPTO,” https://www.uspto.gov/).

        3.       I printed electronic PDF copies of these website pages. I have reviewed Exhibits

1-29 to this declaration, and they are true and correct copies of the following electronic PDF

                                                                Trojan EV & GCC

                                                    1               DTX-14
                                                                    No 4:21-cv-03075
   Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 2 of 65




copies I printed of the following website pages from the USPTO website (with Bates numbers

added):

          a.   Exhibit 1 (TROJAN EV001882):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 71/303,779 as of October 3, 2022;

          b.   Exhibit 2 (TROJAN EV001884 – EV001885):
               A true and correct copy of the USPTO’s TSDR status record of trademark
               registration application serial no. 71/303,779 as of October 3, 2022;
               https://tsdr.uspto.gov/#caseNumber=71303779&caseType=SERIAL_NO&search
               Type=statusSearch

          c.   Exhibit 3 (TROJAN EV001883):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 71/306,977 as of October 3, 2022;

          d.   Exhibit 4 (TROJAN EV001886 – EV001887):
               A true and correct copy of the USPTO’s TSDR status record of trademark
               registration application serial no. 71/306,977 as of October 3, 2022;
               https://tsdr.uspto.gov/#caseNumber=71306977&caseType=SERIAL_NO&search
               Type=statusSearch

          e.   Exhibit 5 (TROJAN EV000463):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 73/085,223 as of September 29, 2022;

          f.   Exhibit 6 (TROJAN EV000464):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 76/655,316 as of September 29, 2022;

          g.   Exhibit 7 (TROJAN EV000465):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 85/299,930 as of September 29, 2022;

          h.   Exhibit 8 (TROJAN EV000466):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 86/341,242 as of September 29, 2022;

          i.   Exhibit 9 (TROJAN EV000467):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 87/418,581 as of September 29, 2022;

          j.   Exhibit 10 (TROJAN EV000468):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 87/580,683 as of September 29, 2022;



                                             2
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 3 of 65




   k.    Exhibit 11 (TROJAN EV000469):
         A true and correct copy of the USPTO’s TESS record of trademark registration
         application serial no. 87/580,700 as of September 29, 2022;

   l.    Exhibit 12 (TROJAN EV000472):
         A true and correct copy of the USPTO’s TESS record of trademark registration
         application serial no. 71/566,325 as of September 29, 2022;

   m.    Exhibit 13 (TROJAN EV000473):
         A true and correct copy of the USPTO’s TESS record of trademark registration
         application serial no. 72/099,972 as of September 29, 2022;

   n.    Exhibit 14 (TROJAN EV000474):
         A true and correct copy of the USPTO’s TESS record of trademark registration
         application serial no. 72/119,011 as of September 29, 2022;

   o.    Exhibit 15 (TROJAN EV000475):
         A true and correct copy of the USPTO’s TESS record of trademark registration
         application serial no. 72/456,710 as of September 29, 2022;

   p.    Exhibit 16 (TROJAN EV000476):
         A true and correct copy of the USPTO’s TESS record of trademark registration
         application serial no. 73/345,641 as of September 29, 2022;

   q.    Exhibit 17 (TROJAN EV000477):
         A true and correct copy of the USPTO’s TESS record of trademark registration
         application serial no. 73/345,678 as of September 29, 2022;

   r.    Exhibit 18 (TROJAN EV000478):
         A true and correct copy of the USPTO’s TESS record of trademark registration
         application serial no. 73/551,053 as of September 29, 2022;

   s.    Exhibit 19 (TROJAN EV000479):
         A true and correct copy of the USPTO’s TESS record of trademark registration
         application serial no. 74/326,020 as of September 29, 2022;

   t.    Exhibit 20 (TROJAN EV000480):
         A true and correct copy of the USPTO’s TESS record of trademark registration
         application serial no. 74/366,907 as of September 29, 2022;

   u.    Exhibit 21 (TROJAN EV000481):
         A true and correct copy of the USPTO’s TESS record of trademark registration
         application serial no. 74/708,597 as of September 29, 2022;

   v.    Exhibit 22 (TROJAN EV000482):
         A true and correct copy of the USPTO’s TESS record of trademark registration
         application serial no. 75/767,307 as of September 29, 2022;



                                       3
   Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 4 of 65




       w.      Exhibit 23 (TROJAN EV000483 – TROJAN EV000484):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 76/288,129 as of September 29, 2022;

       x.      Exhibit 24 (TROJAN EV000485):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 76/305,392 as of September 29, 2022;

       y.      Exhibit 25 (TROJAN EV000486):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 76/647,675 as of September 29, 2022;

       z.      Exhibit 26 (TROJAN EV000487):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 76/647,677 as of September 29, 2022;

       aa.     Exhibit 27 (TROJAN EV000488):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 76/675,977 as of September 29, 2022;

       bb.     Exhibit 28 (TROJAN EV000489):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 77/377,685 as of September 29, 2022;

       cc.     Exhibit 29 (TROJAN EV000490):
               A true and correct copy of the USPTO’s TESS record of trademark registration
               application serial no. 77/701,614 as of September 29, 2022;

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed this 19 day of October, 2022.



                                                                /s/ Simon J. Harrall
                                                                  Simon J. Harrall




                                                4
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 5 of 65




                          EXHIBIT 1
10/3/22, 2:17 PMCase 4:21-cv-03075             Document 153-8    Filed
                                                         Trademark        on Search
                                                                   Electronic 06/20/23
                                                                                    Systemin TXSD Page 6 of 65
                                                                                           (TESS)

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Tress
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                                                                               HELP
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Record 1 out of 1

                                              ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark       TROJAN
 Goods and
                 (EXPIRED) IC 009. US 021. G & S: WET STORAGE BATTERIES. FIRST USE: 19290700. FIRST USE IN COMMERCE: 19290700
 Services
 Mark Drawing
                 (3) DESIGN PLUS WORDS, LETTERS, AND/OR NUMBERS
 Code
 Design Search 04.05.03 - Horses, winged (Pegasus); Pegasus (winged horse)
 Code            26.01.02 - Circles, plain single line; Plain single line circles
                 26.01.20 - Circles within a circle
 Serial Number 71303779
 Filing Date     July 24, 1930
 Current Basis 1A
 Original Filing
                 1A
 Basis
 Registration
                 0281689
 Number
 Registration
                 March 24, 1931
 Date
 Owner           (REGISTRANT) O'NEIL TIRE BATTERY COMPANY COMPOSED OF HUGH H. O'NEIL AND MICHAEL WBANAN, BOTH U.S. CITIZENS FIRM
                 CONNECTICUT 39 WASHINGTON ST. NEW BRITAIN CONNECTICUT
 Assignment
                 ASSIGNMENT RECORDED
 Recorded
 Type of Mark TRADEMARK
 Register        PRINCIPAL
 Affidavit Text SECT 12C. SECT 15.
 Renewal         2ND RENEWAL 19710324
 Live/Dead
                 DEAD
 Indicator




                                                |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4807:23h54e.2.1                                                           1/1


                                                                                                                   TROJAN EV001882
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 7 of 65




                          EXHIBIT 2
10/3/22, 2:22 PMCase 4:21-cv-03075                Document 153-8   Filed
                                                             Trademark     on& 06/20/23
                                                                       Status             in TXSD Page 8 of 65
                                                                               Document Retrieval


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    STATUS     DOCUMENTS         MAINTENANCE                                                                               Back to Search                   Print

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                     Mark: TROJAN




          US Serial Number: 71303779                                                    Application Filing Date: Jul. 24, 1930

    US Registration Number: 281689                                                           Registration Date: Mar. 24, 1931

                   Register: Principal

                 Mark Type: Trademark

        TM5 Common Status                                                        DEAD/REGISTRATION/Expired
               Descriptor:
                                                                                 The trademark application registered, but subsequently removed from the registry
                                                                                 when the registration was not successfully maintained.

                     Status: This registration was not renewed and therefore has expired.

                Status Date: Nov. 03, 1992


   Mark Information                                                                                                                                   ~
                                                                                                                                                          Expand All

   Related Properties Information

   Goods and Services

   Basis Information (Case Level)

   Current Owner(s) Information

   Attorney/Correspondence Information

   Prosecution History

   TM Staff and Location Information

   Assignment Abstract Of Title Information - Click to Load

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                                                                                                                                               TROJAN EV001884
10/3/22, 2:22 PMCase 4:21-cv-03075         Document 153-8   Filed
                                                      Trademark     on& 06/20/23
                                                                Status             in TXSD Page 9 of 65
                                                                        Document Retrieval




https://tsdr.uspto.gov/#caseNumber=71303779&caseType=SERIAL_NO&searchType=statusSearch                       2/2


                                                                                                  TROJAN EV001885
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 10 of 65




                           EXHIBIT 3
               Case 4:21-cv-03075
10/3/22, 2:18 PM                              Document 153-8    Filed
                                                         Trademark       on 06/20/23
                                                                   Electronic Search Systemin(TESS)
                                                                                               TXSD Page 11 of 65
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                                                                               HELP
          Please logout when you are done to release system resources allocated for you.

Record 1 out of 1
                                              ( Use the "Back" button of the Internet Browser to return to TESS)

 Typed Drawing
 Word Mark TROJAN
 Goods and (EXPIRED) IC 009. US 021. G & S: WET STORAGE BATTERIES AND STRUCTURAL PARTS THEREOF. FIRST USE: 19250101. FIRST USE IN
 Services     COMMERCE: 19250101
 Mark
 Drawing      (1) TYPED DRAWING
 Code
 Serial
              71306977
 Number
 Filing Date October 20, 1930
 Current
              1A
 Basis
 Original
              1A
 Filing Basis
 Registration
              0284175
 Number
 Registration
              June 16, 1931
 Date
 Owner        (REGISTRANT) TROJAN BATTERY COMPANY DBA "TROJAN" COMPOSED OF GEORGE R. GODBER AND CARL A.SPEER, BOTH CITIZENS
              OF THE UNITED STATES FIRM CALIFORNIA 308 WEST FOURTEENTH ST. LOS ANGELES CALIFORNIA
 Assignment
              ASSIGNMENT RECORDED
 Recorded
 Type of
              TRADEMARK
 Mark
 Register     PRINCIPAL
 Affidavit
              SECT 12C. SECT 15.
 Text
 Renewal      2ND RENEWAL 19710616
 Live/Dead
              DEAD
 Indicator




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                                                                                                                   TROJAN EV001883
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 12 of 65




                           EXHIBIT 4
               Case 4:21-cv-03075
10/3/22, 2:23 PM                                 Document 153-8   Filed
                                                             Trademark    on&06/20/23
                                                                       Status           in TXSD Page 13 of 65
                                                                              Document Retrieval


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   Processing Wait Times: Please note that due to an extraordinary surge in applications, processing times are longer than usual. See current trademark
   processing wait times for more information.



    STATUS     DOCUMENTS         MAINTENANCE                                                                               Back to Search                   Print

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                     Mark: TROJAN                                                                                                        No Image exists for this case.




          US Serial Number: 71306977                                                    Application Filing Date: Oct. 20, 1930

    US Registration Number: 284175                                                           Registration Date: Jun. 16, 1931

                   Register: Principal

                 Mark Type: Trademark

        TM5 Common Status                                                        DEAD/REGISTRATION/Expired
               Descriptor:
                                                                                 The trademark application registered, but subsequently removed from the registry
                                                                                 when the registration was not successfully maintained.

                     Status: This registration was not renewed and therefore has expired.

                Status Date: Nov. 03, 1992


   Mark Information                                                                                                                                   ~
                                                                                                                                                          Expand All

   Related Properties Information

   Goods and Services

   Basis Information (Case Level)

   Current Owner(s) Information

   Attorney/Correspondence Information

   Prosecution History

   TM Staff and Location Information

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                                                                                                                                               TROJAN EV001886
               Case 4:21-cv-03075
10/3/22, 2:23 PM                          Document 153-8   Filed
                                                      Trademark    on&06/20/23
                                                                Status           in TXSD Page 14 of 65
                                                                       Document Retrieval




https://tsdr.uspto.gov/#caseNumber=71306977&caseType=SERIAL_NO&searchType=statusSearch                      2/2


                                                                                                 TROJAN EV001887
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 15 of 65




                           EXHIBIT 5
9/29/22, 5:53 PMCase 4:21-cv-03075             Document 153-8    Filed
                                                          Trademark       on 06/20/23
                                                                    Electronic             in(TESS)
                                                                               Search System  TXSD Page 16 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

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                              OR                                     Record 26 out of 33


                                             ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark          TROJAN
 Goods and Services (CANCELLED) IC 009. US 021. G & S: ELECTRICAL INSECT KILLERS. FIRST USE: 19760201. FIRST USE IN COMMERCE: 19760301

                       (CANCELLED) IC 011. US 031 034. G & S: WATER STERILIZERS AND HOME AND/OR COMMERCIAL POTABLE WATER FILTERS
 Mark Drawing Code (5) WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED FORM
 Serial Number         73085223
 Filing Date           April 27, 1976
 Current Basis         1A;44E
 Original Filing Basis 1A;44E
 Change In
                       CHANGE IN REGISTRATION HAS OCCURRED
 Registration
 Registration
                       1105959
 Number
 Registration Date     November 14, 1978
 Owner                 (REGISTRANT) TROJAN METAL PRODUCTS INCORPORATED CORPORATION CANADA 379 HIGHBURY AVENUE LONDON,
                       ONTARIO CANADA

                       (LAST LISTED OWNER) TROJAN TECHNOLOGIES GROUP ULC CORPORATION CANADA 3020 GORE ROAD LONDON, ONTARIO
                       CANADA N5V 4T7
 Assignment
                       ASSIGNMENT RECORDED
 Recorded
 Attorney of Record    Susan Neuberger Weller
 Priority Date         February 20, 1976
 Type of Mark          TRADEMARK
 Register              PRINCIPAL
 Affidavit Text        SECT 15. PARTIAL SECT 8 (6-YR). SECTION 8(10-YR) 20081126.
 Renewal               1ST RENEWAL 20081126
 Live/Dead Indicator   DEAD
 Cancellation Date     October 15, 2021




                                                |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                  TROJAN EV000463
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.4.26                                                              1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 17 of 65




                           EXHIBIT 6
9/29/22, 5:49 PMCase 4:21-cv-03075                 Document 153-8    Filed
                                                              Trademark       on 06/20/23
                                                                        Electronic             in(TESS)
                                                                                   Search System  TXSD Page 18 of 65
            United States Patent and Trademark Office

            Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

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                                                  ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark         TROJAN
 Goods and         (ABANDONED) IC 009. US 021 023 026 036 038. G & S: Electronic protection devices, namely, burglar alarms, anti-intrusion sensors and
 Services          alarms, personal security alarms; and video cameras and video and TV monitors sold with and for use in connection with security systems
 Standard
 Characters
 Claimed
 Mark Drawing
                   (4) STANDARD CHARACTER MARK
 Code
 Serial Number     76655316
 Filing Date       February 17, 2006
 Current Basis     1B
 Original Filing
                   1B
 Basis
 Owner             (APPLICANT) Caribbean Electronic Enterprises, Inc. CORPORATION FLORIDA 7091 NW 51st Street Miami FLORIDA 33166
 Attorney of
                   Stephen T. Samuel
 Record
 Prior
                   2757035
 Registrations
 Type of Mark      TRADEMARK
 Register          PRINCIPAL
 Live/Dead
                   DEAD
 Indicator
 Abandonment
                   June 18, 2007
 Date




                                                     |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




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https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.4.21                                                                                      1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 19 of 65




                           EXHIBIT 7
9/29/22, 5:48 PMCase 4:21-cv-03075                Document 153-8    Filed
                                                             Trademark       on 06/20/23
                                                                       Electronic             in(TESS)
                                                                                  Search System  TXSD Page 20 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

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                               OR                                       Record 13 out of 33


                                                ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark     TROJAN
 Goods and     (ABANDONED) IC 009. US 021 023 026 036 038. G & S: Battery chargers; Cell phone battery chargers; Cell phone battery chargers for use in
 Services      vehicles; Cell phone cases; Cell phone covers; Chargers for batteries; Chargers for electric batteries; Leather protective covers specially adapted
               for personal electronic devices; Protective covers and cases for cell phones, laptops and portable media players; Wireless cellular phone
               headsets
 Standard
 Characters
 Claimed
 Mark Drawing
                 (4) STANDARD CHARACTER MARK
 Code
 Serial Number 85299930
 Filing Date     April 20, 2011
 Current Basis 1B
 Original Filing
                 1B
 Basis
 Owner           (APPLICANT) Bendek Cellulars and Accessories International Corporation CORPORATION FLORIDA 1890 N.W. 95 Avenue Doral FLORIDA
                 33172
 Attorney of
                 Albert Bordas
 Record
 Type of Mark TRADEMARK
 Register        PRINCIPAL
 Live/Dead
                 DEAD
 Indicator
 Abandonment
                 January 30, 2012
 Date




                                                   |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                         TROJAN EV000465
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.4.13                                                                                          1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 21 of 65




                           EXHIBIT 8
9/29/22, 5:46 PMCase 4:21-cv-03075               Document 153-8    Filed
                                                            Trademark       on 06/20/23
                                                                      Electronic             in(TESS)
                                                                                 Search System  TXSD Page 22 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

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                              OR                                        Record 8 out of 33


                                                ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark     TROJANSKINS
 Goods and     (ABANDONED) IC 009. US 021 023 026 036 038. G & S: Bioreactor for cell culturing; Camera cases; Carrying cases and containers for contact
 Services      lenses; Carrying cases for cell phones; Carrying cases for mobile computers; Carrying cases for radio pagers; Carrying cases specially adapted
               for electronic equipment, namely, tablet computers; Carrying cases specially adapted for pocket calculators and cellphones; Cases adapted for
               cameras; Cases adapted for computers; Cases adapted for mobile phones; Cases adapted for photographic equipment; Cases fitted with
               dissecting instruments for scientific or research purposes; Cases fitted with dissecting instruments not for medical use; Cases for children's eye
               glasses; Cases for contact lenses; Cases for diskettes and compact disks; Cases for electronic diaries; Cases for eyeglasses and sunglasses;
               Cases for mobile phones; Cases for music, audio and related electronic equipment, namely, cases for audio tuners, audio receivers, amplifiers,
               tape players, compact disc players, MP3 controllers/players, audio mixers, audio speakers in the nature of music studio monitors, microphones,
               audio speakers, compact discs, audio tapes, portable computers, antennas, phonographic record players, audio recording equipment, and the
               cables associated with all of the foregoing equipment; Cases for photographic apparatus; Cases for pocket calculators; Cases for spectacles and
               sunglasses; Cases for spectacles, for pince-nez and for contact lenses; Cases for telephones; Casings and casing parts for electrical equipment,
               namely, housing for switching apparatus; CD cases; Cell phone backplates; Cell phone battery chargers; Cell phone battery chargers for use in
               vehicles; Cell phone cases; Cell phone covers; Cell phone faceplates. Cell phone having large keys and numbers that assist users having
               impaired vision or dexterity; Cell phone straps; Cell phones; Cellular phone accessory charms; Cellular phone usage detection system comprising
               a camera and a mobile phone signal receiving device; Cellular phones; Chipsets for connecting multimedia home devices, home and VoIP phones
               and digital cordless phone devices; Compact disc cases; Computer carrying cases; Computer game software for use on mobile and cellular
               phones; Computer-controlled electronic apparatus for electrophysiological measurement and testing of cells; Contact lens cases; Contingency
               response communication system designed to provide radio interoperability, streaming video, wireless internet, and VOIP phone; Devices for
               hands-free use of mobile phones; Digital cellular phones; DVD cases
 Standard
 Characters
 Claimed
 Mark Drawing
                 (4) STANDARD CHARACTER MARK
 Code
 Serial Number 86341242
 Filing Date     July 18, 2014
 Current Basis 1B
 Original Filing
                 1B
 Basis
 Published for
                 September 9, 2014
 Opposition
 Owner           (APPLICANT) Iparts Outlet, Inc CORPORATION FLORIDA 2618 San Miguel dr ste 305 Newport Beach FLORIDA 92660
 Type of Mark TRADEMARK
 Register        PRINCIPAL
 Live/Dead
                 DEAD
 Indicator
 Abandonment
                 June 8, 2015
 Date




                                                   |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY
                                                                                                                        TROJAN EV000466
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.4.8                                                                                         1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 23 of 65




                           EXHIBIT 9
9/29/22, 5:44 PMCase 4:21-cv-03075                  Document 153-8    Filed
                                                               Trademark       on 06/20/23
                                                                         Electronic             in(TESS)
                                                                                    Search System  TXSD Page 24 of 65
            United States Patent and Trademark Office

            Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




 Logout    Please logout when you are done to release system resources allocated for you.

  Start List At:                       Jump to record:
                                 OR                                       Record 5 out of 33


                                                   ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark       TROJAN SECURITY SYSTEMS
 Goods and       (ABANDONED) IC 009. US 021 023 026 036 038. G & S: Security products, namely, entry door systems comprising touch pads and security
 Services        doors; Building security systems comprising software and hardware for providing picture, video, alarm status, building plans, and other information
                 to a remote station; Home and office automation systems comprising wireless and wired controllers, controlled devices, and software for lighting,
                 HVAC, security, safety and other home and office monitoring and control applications. FIRST USE: 20170101. FIRST USE IN COMMERCE:
                 20170101
 Mark Drawing
                 (3) DESIGN PLUS WORDS, LETTERS, AND/OR NUMBERS
 Code
 Design          02.01.13 - Gladiators; Men, Roman, Greek and other ancient soldiers, gladiators and Vikings; Vikings
 Search Code 23.05.01 - Helmets, armor
                 26.05.13 - Triangles, exactly two triangles; Two triangles
                 26.05.21 - Triangles that are completely or partially shaded
 Serial Number 87418581
 Filing Date     April 20, 2017
 Current Basis 1A
 Original Filing
                 1A
 Basis
 Owner           (APPLICANT) Lone Wolf Industries Ltd CORPORATION NORTH CAROLINA 2020 Independence Commerce Drive Suite E Matthews NORTH
                 CAROLINA 28105
 Attorney of
                 Jonathan Meek
 Record
 Description of Color is not claimed as a feature of the mark. The mark consists of a stylized head of a trojan soldier wearing a helmet with a face-shield and a
 Mark            crest starting at the top front of the helmet and running down the back of the helmet to the back of the helmet and the stylized word "Trojan" above
                 the words "Security Systems", a triangle extends from the left side of the word "Security Systems" with the tip of the triangle pointing away from
                 the words and a second triangle extends from the right side of the word "Security Systems" with the tip of the triangle pointing away from the
                 words.
 Type of Mark TRADEMARK
 Register        PRINCIPAL
 Live/Dead
                 DEAD
 Indicator
 Abandonment
                 January 25, 2018
 Date




                                                     |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                           TROJAN EV000467
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.4.5                                                                                             1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 25 of 65




                          EXHIBIT 10
9/29/22, 5:42 PMCase 4:21-cv-03075                Document 153-8    Filed
                                                             Trademark       on 06/20/23
                                                                       Electronic             in(TESS)
                                                                                  Search System  TXSD Page 26 of 65
            United States Patent and Trademark Office

            Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                       Jump to record:
                                OR                                       Record 4 out of 33


                                                 ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark         TROJAN
 Goods and         IC 007. US 013 019 021 023 031 034 035. G & S: Printing machines; industrial printing machines; printing machines for commercial use;
 Services          electronic label printing machines for commercial use. FIRST USE: 20160900. FIRST USE IN COMMERCE: 20160900

                   IC 009. US 021 023 026 036 038. G & S: Desktop label printers; laser label printers; inkjet label printers. FIRST USE: 20130300. FIRST USE IN
                   COMMERCE: 20130300

                   IC 016. US 002 005 022 023 029 037 038 050. G & S: Office labelling machines; addressing machines. FIRST USE: 20150300. FIRST USE IN
                   COMMERCE: 20150300
 Standard
 Characters
 Claimed
 Mark Drawing
                   (4) STANDARD CHARACTER MARK
 Code
 Serial Number     87580683
 Filing Date       August 23, 2017
 Current Basis     1A;44E
 Original Filing
                   44D;44E
 Basis
 Published for
                   February 27, 2018
 Opposition
 Registration
                   5467556
 Number
 Registration
                   May 15, 2018
 Date
 Owner             (REGISTRANT) Trojan Label ApS private limited company DENMARK Marielundvej 46 Herlev DENMARK 2730
 Attorney of
                   Nicole Kinsley, Esq.
 Record
 Priority Date     February 23, 2017
 Type of Mark      TRADEMARK
 Register          PRINCIPAL
 Live/Dead
                   LIVE
 Indicator




                                                    |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                       TROJAN EV000468
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.4.4                                                                                        1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 27 of 65




                          EXHIBIT 11
9/29/22, 5:41 PMCase 4:21-cv-03075                Document 153-8    Filed
                                                             Trademark       on 06/20/23
                                                                       Electronic             in(TESS)
                                                                                  Search System  TXSD Page 28 of 65
            United States Patent and Trademark Office

            Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                       Jump to record:
                                OR                                       Record 3 out of 33


                                                 ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark         TROJANLABEL
 Goods and         IC 007. US 013 019 021 023 031 034 035. G & S: Printing machines; industrial printing machines; printing machines for commercial use;
 Services          electronic label printing machines for commercial use. FIRST USE: 20160900. FIRST USE IN COMMERCE: 20160900

                   IC 009. US 021 023 026 036 038. G & S: Desktop label printers; laser label printers; inkjet label printers. FIRST USE: 20130300. FIRST USE IN
                   COMMERCE: 20130300

                   IC 016. US 002 005 022 023 029 037 038 050. G & S: Office labelling machines; addressing machines. FIRST USE: 20150300. FIRST USE IN
                   COMMERCE: 20150300
 Standard
 Characters
 Claimed
 Mark Drawing
                   (4) STANDARD CHARACTER MARK
 Code
 Serial Number     87580700
 Filing Date       August 23, 2017
 Current Basis     1A;44E
 Original Filing
                   44D;44E
 Basis
 Published for
                   February 27, 2018
 Opposition
 Registration
                   5467557
 Number
 Registration
                   May 15, 2018
 Date
 Owner             (REGISTRANT) Trojan Label ApS private limited company DENMARK Marielundvej 46 Herlev DENMARK 2730
 Attorney of
                   Nicole Kinsley, Esq.
 Record
 Priority Date     February 23, 2017
 Type of Mark      TRADEMARK
 Register          PRINCIPAL
 Live/Dead
                   LIVE
 Indicator




                                                    |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                       TROJAN EV000469
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.4.3                                                                                        1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 29 of 65




                          EXHIBIT 12
9/29/22, 5:34 PMCase 4:21-cv-03075           Document 153-8    Filed
                                                        Trademark       on 06/20/23
                                                                  Electronic             in(TESS)
                                                                             Search System  TXSD Page 30 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                  Jump to record:
                             OR                                     Record 20 out of 20


                                            ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark             TROJAN
 Goods and Services (EXPIRED) IC 012. US 019. G & S: BICYCLES. FIRST USE: 19350910. FIRST USE IN COMMERCE: 19350910
 Mark Drawing Code (5) WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED FORM
 Serial Number         71566325
 Filing Date           October 2, 1948
 Current Basis         1A
 Original Filing Basis 1A
 Registration Number 0518217
 Registration Date     November 29, 1949
 Owner                 (REGISTRANT) CLEVELAND WELDING COMPANY, THE CORPORATION OHIO WEST 117TH STREET AND BEREA ROAD
                       CLEVELAND OHIO
 Assignment
                       ASSIGNMENT RECORDED
 Recorded
 Type of Mark          TRADEMARK
 Register              PRINCIPAL
 Affidavit Text        SECT 15.
 Renewal               1ST RENEWAL 19691129
 Live/Dead Indicator DEAD




                                               |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                 TROJAN EV000472
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.20                                                            1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 31 of 65




                          EXHIBIT 13
9/29/22, 5:33 PMCase 4:21-cv-03075             Document 153-8    Filed
                                                          Trademark       on 06/20/23
                                                                    Electronic             in(TESS)
                                                                               Search System  TXSD Page 32 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                     Jump to record:
                               OR                                    Record 17 out of 20


                                              ( Use the "Back" button of the Internet Browser to return to TESS)


 Word Mark           TROJAN
 Goods and
                     (CANCELLED) IC 012. US 019. G & S: Boats. FIRST USE: 19490300. FIRST USE IN COMMERCE: 19490300
 Services
 Mark Drawing
                     (1) TYPED DRAWING
 Code
 Serial Number       72099972
 Filing Date         June 29, 1960
 Current Basis       1A
 Original Filing
                     1A
 Basis
 Registration
                     0712059
 Number
 Registration Date   March 7, 1961
 Owner               (REGISTRANT) Trojan Boat Co. CORPORATION PENNSYLVANIA GREENFIELD ROAD Lancaster PENNSYLVANIA

                     (LAST LISTED OWNER) MARQUIS YACHTS, LLC LIMITED LIABILITY COMPANY MINNESOTA 8096 EXCELSIOR BOULEVARD
                     HOPKINS MINNESOTA 55343
 Assignment
                    ASSIGNMENT RECORDED
 Recorded
 Attorney of Record Scott W. Johnston
 Type of Mark       TRADEMARK
 Register           PRINCIPAL
 Affidavit Text     SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20010620.
 Renewal            2ND RENEWAL 20010620
 Live/Dead
                    DEAD
 Indicator
 Cancellation Date April 1, 2016




                                                |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                  TROJAN EV000473
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.17                                                             1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 33 of 65




                          EXHIBIT 14
9/29/22, 5:33 PMCase 4:21-cv-03075           Document 153-8    Filed
                                                        Trademark       on 06/20/23
                                                                  Electronic             in(TESS)
                                                                             Search System  TXSD Page 34 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                  Jump to record:
                             OR                                     Record 19 out of 20


                                            ( Use the "Back" button of the Internet Browser to return to TESS)


 Word Mark           TROJAN
 Goods and           (EXPIRED) IC 012. US 019. G & S: HOUSE TRAILERS AND MOBILE HOMES. FIRST USE: 19610125. FIRST USE IN COMMERCE:
 Services            19610214
 Mark Drawing Code (1) TYPED DRAWING
 Serial Number       72119011
 Filing Date         May 1, 1961
 Current Basis       1A
 Original Filing
                     1A
 Basis
 Registration
                     0725845
 Number
 Registration Date   January 2, 1962
 Owner               (REGISTRANT) KIT MANUFACTURING COMPANY CORPORATION CALIFORNIA 1401 W. 17TH ST. LONG BEACH 13 CALIFORNIA
 Type of Mark        TRADEMARK
 Register            PRINCIPAL
 Affidavit Text      SECT 15.
 Live/Dead Indicator DEAD




                                               |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                 TROJAN EV000474
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.19                                                              1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 35 of 65




                          EXHIBIT 15
9/29/22, 5:33 PMCase 4:21-cv-03075           Document 153-8    Filed
                                                        Trademark       on 06/20/23
                                                                  Electronic             in(TESS)
                                                                             Search System  TXSD Page 36 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                  Jump to record:
                             OR                                     Record 18 out of 20


                                            ( Use the "Back" button of the Internet Browser to return to TESS)


 Word Mark             TROJAN
 Goods and Services (EXPIRED) IC 012. US 019. G & S: SULKY VEHICLES. FIRST USE: 19310000. FIRST USE IN COMMERCE: 19310000
 Mark Drawing Code     (1) TYPED DRAWING
 Serial Number         72456710
 Filing Date           May 7, 1973
 Current Basis         1A
 Original Filing Basis 1A
 Registration Number 1008122
 Registration Date     April 1, 1975
 Owner                 (REGISTRANT) TORO COMPANY, THE CORPORATION MINNESOTA 8111 LYNDALE AVE. MINNEAPOLIS MINNESOTA 55420
 Assignment Recorded ASSIGNMENT RECORDED
 Type of Mark          TRADEMARK
 Register              PRINCIPAL
 Affidavit Text        SECT 15. SECT 8 (6-YR).
 Live/Dead Indicator   DEAD




                                               |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                 TROJAN EV000475
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.18                                                            1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 37 of 65




                          EXHIBIT 16
9/29/22, 5:32 PMCase 4:21-cv-03075            Document 153-8    Filed
                                                         Trademark       on 06/20/23
                                                                   Electronic             in(TESS)
                                                                              Search System  TXSD Page 38 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                   Jump to record:
                              OR                                    Record 16 out of 20


                                            ( Use the "Back" button of the Internet Browser to return to TESS)


 Word Mark               TROJAN INTERNATIONAL
 Goods and Services      (CANCELLED) IC 012. US 019. G & S: Boats. FIRST USE: 19810219. FIRST USE IN COMMERCE: 19810219
 Mark Drawing Code       (1) TYPED DRAWING
 Serial Number           73345641
 Filing Date             January 15, 1982
 Current Basis           1A
 Original Filing Basis   1A
 Published for
                         October 12, 1982
 Opposition
 Registration Number 1222515
 Registration Date   January 4, 1983
 Owner               (REGISTRANT) Whittaker Corporation a.k.a. Trojan Yacht CORPORATION CALIFORNIA 10880 Wilshire Blvd. Los Angeles
                     CALIFORNIA 90024
 Assignment Recorded ASSIGNMENT RECORDED
 Attorney of Record  Donald E. Nist
 Prior Registrations 0712059
 Type of Mark        TRADEMARK
 Register            PRINCIPAL
 Live/Dead Indicator DEAD
 Cancellation Date   June 2, 1989




                                               |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                 TROJAN EV000476
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.16                                                               1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 39 of 65




                          EXHIBIT 17
9/29/22, 5:31 PMCase 4:21-cv-03075            Document 153-8    Filed
                                                         Trademark       on 06/20/23
                                                                   Electronic             in(TESS)
                                                                              Search System  TXSD Page 40 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                   Jump to record:
                              OR                                    Record 15 out of 20


                                            ( Use the "Back" button of the Internet Browser to return to TESS)


 Word Mark               TROJAN AMERICAN
 Goods and Services      (CANCELLED) IC 012. US 019. G & S: Boats. FIRST USE: 19810219. FIRST USE IN COMMERCE: 19810219
 Mark Drawing Code       (1) TYPED DRAWING
 Serial Number           73345678
 Filing Date             January 15, 1982
 Current Basis           1A
 Original Filing Basis   1A
 Published for
                         October 12, 1982
 Opposition
 Registration Number 1222516
 Registration Date   January 4, 1983
 Owner               (REGISTRANT) Whittaker Corporation a.k.a. Trojan Yacht CORPORATION CALIFORNIA 10880 Wilshire Blvd. Los Angeles
                     CALIFORNIA 90024
 Assignment Recorded ASSIGNMENT RECORDED
 Attorney of Record  Donald E. Nist
 Prior Registrations 0712059
 Type of Mark        TRADEMARK
 Register            PRINCIPAL
 Live/Dead Indicator DEAD
 Cancellation Date   June 2, 1989




                                               |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                 TROJAN EV000477
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.15                                                               1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 41 of 65




                          EXHIBIT 18
9/29/22, 5:29 PMCase 4:21-cv-03075            Document 153-8    Filed
                                                         Trademark       on 06/20/23
                                                                   Electronic             in(TESS)
                                                                              Search System  TXSD Page 42 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




 Logout   Please logout when you are done to release system resources allocated for you.

  Start List At:                    Jump to record:
                               OR                                   Record 14 out of 20


                                             ( Use the "Back" button of the Internet Browser to return to TESS)


 Word Mark               TROJAN
 Goods and Services      (CANCELLED) IC 012. US 035. G & S: TIRES FOR AUTOMOBILES AND TRUCKS. FIRST USE: 19850620. FIRST USE IN
                         COMMERCE: 19850620
 Mark Drawing Code       (1) TYPED DRAWING
 Serial Number           73551053
 Filing Date             July 31, 1985
 Current Basis           1A
 Original Filing Basis   1A
 Published for
                         December 10, 1985
 Opposition
 Registration Number 1385161
 Registration Date   March 4, 1986
 Owner               (REGISTRANT) JIM MARTIN TIRE COMPANY, INC. CORPORATION FLORIDA 522 PARK STREET, P.O. BOX 2696 JACKSONVILLE
                     FLORIDA 32203
 Assignment Recorded ASSIGNMENT RECORDED
 Attorney of Record  CORINNE PALMER WEBNER
 Type of Mark        TRADEMARK
 Register            PRINCIPAL
 Live/Dead Indicator DEAD
 Cancellation Date   November 4, 1992




                                               |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                 TROJAN EV000478
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.14                                                            1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 43 of 65




                          EXHIBIT 19
9/29/22, 5:27 PMCase 4:21-cv-03075               Document 153-8    Filed
                                                            Trademark       on 06/20/23
                                                                      Electronic             in(TESS)
                                                                                 Search System  TXSD Page 44 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




 Logout   Please logout when you are done to release system resources allocated for you.

  Start List At:                    Jump to record:
                               OR                                      Record 11 out of 20


                                               ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark               SOFTIRE CORE ENGINEERED: TROJAN TIRE
 Goods and Services      IC 012. US 035. G & S: tires and tire related products; namely, layered fill therefor. FIRST USE: 19920401. FIRST USE IN COMMERCE:
                         19920401
 Mark Drawing Code       (3) DESIGN PLUS WORDS, LETTERS, AND/OR NUMBERS
 Design Search Code      03.05.01 - Horses
                         03.05.16 - Heads of horses, donkeys, zebras
                         03.05.24 - Stylized horses, donkeys, zebras
                         18.11.01 - Inner tubes ; Tire marks ; Tires ; Tubes, tire
                         26.01.20 - Circles within a circle
                         26.01.21 - Circles that are totally or partially shaded.
 Serial Number           74326020
 Filing Date             October 28, 1992
 Current Basis           1A
 Original Filing Basis   1A
 Published for
                         November 30, 1993
 Opposition
 Registration Number     1822598
 Registration Date       February 22, 1994
 Owner                   (REGISTRANT) TROJAN TIRE, INC. CORPORATION CANADA 1097 North Service Road East Oakville, Ontario CANADA L6H 1A6

                         (LAST LISTED OWNER) JALCOS HOLDINGS INC. CORPORATION BY ASSIGNMENT CANADA 960 GATEWAY CANADA L7L 5K7
 Assignment Recorded     ASSIGNMENT RECORDED
 Attorney of Record      TERRENCE L.B. BROWN
 Prior Registrations     1628208
 Disclaimer              NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "ENGINEERED" and "TIRE" APART FROM THE MARK AS SHOWN
 Description of Mark     The stippling shown in the drawing is for shading purposes only, and is not intended to designate any particular color.
 Type of Mark            TRADEMARK
 Register                PRINCIPAL
 Affidavit Text          SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20130724.
 Renewal                 2ND RENEWAL 20130724
 Live/Dead Indicator     LIVE




                                                  |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                    TROJAN EV000479
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.11                                                                                  1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 45 of 65




                          EXHIBIT 20
9/29/22, 5:29 PMCase 4:21-cv-03075               Document 153-8    Filed
                                                            Trademark       on 06/20/23
                                                                      Electronic             in(TESS)
                                                                                 Search System  TXSD Page 46 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




 Logout   Please logout when you are done to release system resources allocated for you.

  Start List At:                     Jump to record:
                                OR                                      Record 13 out of 20


                                                ( Use the "Back" button of the Internet Browser to return to TESS)


 Word Mark               TROJAN
 Goods and Services      (CANCELLED) IC 012. US 023. G & S: articulated dump trucks and structural parts thereof. FIRST USE: 19880000. FIRST USE IN
                         COMMERCE: 19880000
 Mark Drawing Code       (1) TYPED DRAWING
 Serial Number           74366907
 Filing Date             March 11, 1993
 Current Basis           1A
 Original Filing Basis   1A
 Published for
                         August 3, 1993
 Opposition
 Registration Number     1800663
 Registration Date       October 26, 1993
 Owner                   (REGISTRANT) O&K Trojan, Inc. CORPORATION DELAWARE Trojan Circle Batavia NEW YORK 14020
 Attorney of Record      Mark B. Harrison
 Type of Mark            TRADEMARK
 Register                PRINCIPAL
 Live/Dead Indicator     DEAD
 Cancellation Date       December 15, 2000




                                                   |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                     TROJAN EV000480
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.13                                                                               1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 47 of 65




                          EXHIBIT 21
9/29/22, 5:28 PMCase 4:21-cv-03075           Document 153-8    Filed
                                                        Trademark       on 06/20/23
                                                                  Electronic             in(TESS)
                                                                             Search System  TXSD Page 48 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

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  Start List At:                  Jump to record:
                             OR                                     Record 12 out of 20


                                            ( Use the "Back" button of the Internet Browser to return to TESS)


 Word Mark             TROJAN
 Goods and Services (ABANDONED) IC 012. US 019 021 023 031 035 044. G & S: motorcycles and structural parts therefor
 Mark Drawing Code (1) TYPED DRAWING
 Serial Number         74708597
 Filing Date           July 18, 1995
 Current Basis         1B
 Original Filing Basis 1B
 Published for
                       April 16, 1996
 Opposition
 Owner                 (APPLICANT) SUZUKI MOTOR CORPORATION DBA SUZUKI KABUSHIKI KAISHA CORPORATION JAPAN 300 Takatsuka-cho,
                       Hamamatsu-shi Shizuoka-ken JAPAN
 Attorney of Record STANFORD W. BERMAN
 Type of Mark          TRADEMARK
 Register              PRINCIPAL
 Live/Dead Indicator DEAD
 Abandonment Date January 10, 1999




                                               |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                 TROJAN EV000481
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.12                                                            1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 49 of 65




                          EXHIBIT 22
9/29/22, 5:27 PMCase 4:21-cv-03075            Document 153-8    Filed
                                                         Trademark       on 06/20/23
                                                                   Electronic             in(TESS)
                                                                              Search System  TXSD Page 50 of 65
            United States Patent and Trademark Office

            Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

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  Start List At:                    Jump to record:
                               OR                                   Record 10 out of 20


                                             ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark               TROJANAIR
 Goods and Services      (ABANDONED) IC 012. US 019 021 023 031 035 044. G & S: TIRES; AND TIRE RELATED PRODUCTS, NAMELY TIRE FILLS AND
                         RUN FLAT INSERTS
 Mark Drawing Code       (1) TYPED DRAWING
 Serial Number           75767307
 Filing Date             August 4, 1999
 Current Basis           1B
 Original Filing Basis   1B
 Published for
                         May 16, 2000
 Opposition
 Owner                   (APPLICANT) JALCOS HOLDINGS INC. CORPORATION CANADA 2102 Speers Road Oakville, Ontario CANADA L6L 2X8
 Attorney of Record      Terrence L. B. Brown
 Type of Mark            TRADEMARK
 Register                PRINCIPAL
 Live/Dead Indicator     DEAD
 Abandonment Date        February 9, 2001




                                               |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                 TROJAN EV000482
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.10                                                                   1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 51 of 65




                          EXHIBIT 23
9/29/22, 5:26 PMCase 4:21-cv-03075                 Document 153-8    Filed
                                                              Trademark       on 06/20/23
                                                                        Electronic             in(TESS)
                                                                                   Search System  TXSD Page 52 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                     Jump to record:
                               OR                                        Record 9 out of 20


                                                  ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark    TROJANS
 Goods and    IC 006. US 002 012 013 014 023 025 050. G & S: Key rings of non-precious metals; car emblems of non-precious metals; art work desktop
 Services     statuary of non-precious metals; and metallic money clips. FIRST USE: 19760000. FIRST USE IN COMMERCE: 19760000

              IC 012. US 019 021 023 031 035 044. G & S: Metal frames for metal license plates. FIRST USE: 19760000. FIRST USE IN COMMERCE:
              19760000

              IC 018. US 001 002 003 022 041. G & S: Umbrellas; luggage, namely, tote bags, hand luggage, garment bags and overnight bags; fanny packs;
              toiletry bags sold empty; briefcases; backpacks; duffel bags; wallets; business card cases; luggage tags; animal leashes; and dog collars. FIRST
              USE: 19760000. FIRST USE IN COMMERCE: 19760000

              IC 024. US 042 050. G & S: Towels, stadium blankets, cloth pennants and cloth flags. FIRST USE: 19760000. FIRST USE IN COMMERCE:
              19760000

              IC 025. US 022 039. G & S: Clothing, namely, adult and children's T-shirts; adult and children's sweatshirts, adult and children's warm-up suits,
              adult and children's jackets, adult and children's sweaters, adult and children's jerseys, adult and children's tank tops, adult and children's shorts,
              men's shirts, ladies' tops, creepers, baby pants, sport shirts, baseball shirts, basketball jerseys, golf sweaters, night shirts, boxer shorts, adult and
              children's socks, baby booties, adult and children's tennis shoes, sandals, hats, caps, sport caps, visor caps, crew caps, baby caps, bandannas,
              scarves and ties. FIRST USE: 19760000. FIRST USE IN COMMERCE: 19760000

              IC 041. US 100 101 107. G & S: Educational services, namely, providing classes, courses, seminars, educational research and training at the
              undergraduate, graduate, post-graduate, adult education and professional levels; and entertainment services, namely, conducting athletic
              competitions, organizing intercollegiate, community, and national sporting and cultural events; sports instruction; providing musical, band, dance,
              theatrical and dramatic performances; production and programming of television and radio programs. FIRST USE: 19760000. FIRST USE IN
              COMMERCE: 19760000
 Mark
 Drawing       (1) TYPED DRAWING
 Code
 Serial
               76288129
 Number
 Filing Date   July 19, 2001
 Current
               1A
 Basis
 Original
               1A
 Filing Basis
 Published for
               October 29, 2002
 Opposition
 Registration
               2676784
 Number
 Registration
               January 21, 2003
 Date
 Owner         (REGISTRANT) University of Southern California NON-PROFIT CORPORATION CALIFORNIA University Park, ADM 352 Los Angeles
               CALIFORNIA 900895013
 Attorney of
               Scott A. Edelman
 Record
 Prior
               1542654;2180585;AND OTHERS
 Registrations
                                                                                                                             TROJAN EV000483
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.9                                                                                                1/2
9/29/22, 5:26 PMCase 4:21-cv-03075            Document 153-8    Filed
                                                         Trademark       on 06/20/23
                                                                   Electronic             in(TESS)
                                                                              Search System  TXSD Page 53 of 65
 Type of Mark TRADEMARK. SERVICE MARK
 Register       PRINCIPAL
 Affidavit Text SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20130126.
 Renewal        1ST RENEWAL 20130126
 Live/Dead
                LIVE
 Indicator




                                               |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                 TROJAN EV000484
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.9                                                             2/2
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 54 of 65




                          EXHIBIT 24
9/29/22, 5:25 PMCase 4:21-cv-03075              Document 153-8    Filed
                                                           Trademark       on 06/20/23
                                                                     Electronic             in(TESS)
                                                                                Search System  TXSD Page 55 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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                               OR                                      Record 8 out of 20


                                               ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark          TROJAN
 Goods and          (CANCELLED) IC 012. US 019 021 023 031 035 044. G & S: Antitheft alarms for vehicles, excluding alarms for boats. FIRST USE:
 Services           20020218. FIRST USE IN COMMERCE: 20020218
 Mark Drawing
                    (1) TYPED DRAWING
 Code
 Serial Number      76305392
 Filing Date        August 25, 2001
 Current Basis      1A
 Original Filing
                    1B
 Basis
 Published for
                    April 30, 2002
 Opposition
 Registration
                    2757035
 Number
 Registration Date August 26, 2003
 Owner              (REGISTRANT) Caribbean Electronic Enterprises, Inc. CORPORATION FLORIDA 6971 NW 51 Street Miami FLORIDA 33166
 Attorney of Record Stephen T. Samuel
 Type of Mark       TRADEMARK
 Register           PRINCIPAL
 Affidavit Text     SECT 15. SECT 8 (6-YR).
 Live/Dead
                    DEAD
 Indicator
 Cancellation Date March 28, 2014




                                                  |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                    TROJAN EV000485
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.8                                                                             1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 56 of 65




                          EXHIBIT 25
9/29/22, 5:25 PMCase 4:21-cv-03075                Document 153-8    Filed
                                                             Trademark       on 06/20/23
                                                                       Electronic             in(TESS)
                                                                                  Search System  TXSD Page 57 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                     Jump to record:
                               OR                                        Record 7 out of 20


                                                 ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark    TROJAN PUTS HORSEPOWER IN YOUR TIRE
 Goods and    (CANCELLED) IC 012. US 019 021 023 031 035 044. G & S: Tires; dual tires; dual tires with a spacer in between the tires; safety devices for
 Services     inflatable tires, namely, non-pneumatic inserts for maintaining tire integrity during run flat or nearly run flat condition. FIRST USE: 20061000. FIRST
              USE IN COMMERCE: 20061000

              (CANCELLED) IC 017. US 001 005 012 013 035 050. G & S: Tire-related products, namely, tire fills. FIRST USE: 20061000. FIRST USE IN
              COMMERCE: 20061000
 Standard
 Characters
 Claimed
 Mark
 Drawing        (4) STANDARD CHARACTER MARK
 Code
 Serial
                76647675
 Number
 Filing Date    September 28, 2005
 Current
                1A
 Basis
 Original
                1B
 Filing Basis
 Published for
                June 12, 2007
 Opposition
 Registration
                3531405
 Number
 Registration
                November 11, 2008
 Date
 Owner          (REGISTRANT) JALCOS HOLDINGS INC. CORPORATION CANADA 960 GATEWAY BURLINGTON, ONTARIO CANADA L7L 5K7
 Attorney of
                Terrence L.B. Brown
 Record
 Prior
                1822598
 Registrations
 Type of Mark TRADEMARK
 Register       PRINCIPAL
 Affidavit Text SECT 15. SECT 8 (6-YR).
 Live/Dead
                DEAD
 Indicator
 Cancellation
                June 14, 2019
 Date




                                                    |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY
                                                                                                                          TROJAN EV000486
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.7                                                                                             1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 58 of 65




                          EXHIBIT 26
9/29/22, 5:24 PMCase 4:21-cv-03075           Document 153-8    Filed
                                                        Trademark       on 06/20/23
                                                                  Electronic             in(TESS)
                                                                             Search System  TXSD Page 59 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                  Jump to record:
                             OR                                     Record 6 out of 20


                                            ( Use the "Back" button of the Internet Browser to return to TESS)


 Word Mark TROJAN TIRE
 Goods and IC 012. US 019 021 023 031 035 044. G & S: TIRES; DUAL TIRES; DUAL TIRES WITH A SPACER IN BETWEEN THE TIRES; SAFETY DEVICES
 Services  FOR INFLATABLE TIRES, NAMELY, NON-PNEUMATIC INSERTS FOR MAINTAINING TIRE INTEGRITY DURING RUN FLAT OR NEARLY RUN
           FLAT CONDITION. FIRST USE: 19930000. FIRST USE IN COMMERCE: 19930000

             IC 017. US 001 005 012 013 035 050. G & S: TIRE-RELATED PRODUCTS, NAMELY, TIRE FILLS. FIRST USE: 19870400. FIRST USE IN
             COMMERCE: 19880000
 Standard
 Characters
 Claimed
 Mark
 Drawing      (4) STANDARD CHARACTER MARK
 Code
 Serial
              76647677
 Number
 Filing Date September 28, 2005
 Current
              1A
 Basis
 Original
              1B
 Filing Basis
 Published
 for          January 23, 2007
 Opposition
 Registration
              3436587
 Number
 Registration
              May 27, 2008
 Date
 Owner        (REGISTRANT) JALCOS HOLDINGS INC. CORPORATION CANADA 960 GATEWAY BURLINGTON, ONTARIO CANADA L7L 5K7
 Attorney of
              TERRENCE L.B. BROWN
 Record
 Disclaimer NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "TIRE" APART FROM THE MARK AS SHOWN
 Type of
              TRADEMARK
 Mark
 Register     PRINCIPAL
 Affidavit
              SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20170708.
 Text
 Renewal      1ST RENEWAL 20170708
 Live/Dead
              LIVE
 Indicator




                                               |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                 TROJAN EV000487
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.6                                                                 1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 60 of 65




                          EXHIBIT 27
9/29/22, 5:23 PMCase 4:21-cv-03075                   Document 153-8    Filed
                                                                Trademark       on 06/20/23
                                                                          Electronic             in(TESS)
                                                                                     Search System  TXSD Page 61 of 65
            United States Patent and Trademark Office

            Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                        Jump to record:
                                  OR                                       Record 5 out of 20


                                                    ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark                 TROJAN AIR-CELL
 Goods and Services        IC 012. US 019 021 023 031 035 044. G & S: Tires; safety devices for inflatable tires, namely, non-pneumatic inserts for maintaining tire
                           integrity during run flat or nearly run flat condition. FIRST USE: 20070600. FIRST USE IN COMMERCE: 20070600

                           IC 017. US 001 005 012 013 035 050. G & S: TIRE-RELATED PRODUCTS, NAMELY, TIRE FILLS MADE OF NATURAL RUBBER FOR
                           TIRES, TIRE FILLS MADE OF SYNTHETIC RUBBER FOR TIRES, TIRE FILLS MADE OF POLYURETHANE FOR TIRES, AND TIRE
                           FILLS MADE OF ELASTOMERIC COMPOUNDS FOR TIRES. FIRST USE: 20070600. FIRST USE IN COMMERCE: 20070600
 Standard Characters
 Claimed
 Mark Drawing Code         (4) STANDARD CHARACTER MARK
 Trademark Search
                           NOTATION-SYMBOLS Notation Symbols such as Non-Latin characters,punctuation and mathematical signs,zodiac signs,prescription
 Facility Classification
                           marks
 Code
 Serial Number             76675977
 Filing Date               April 24, 2007
 Current Basis             1A
 Original Filing Basis     1B
 Published for
                           April 21, 2009
 Opposition
 Registration Number       3771907
 Registration Date         April 6, 2010
 Owner                     (REGISTRANT) JALCOS HOLDINGS INC. CORPORATION CANADA 960 Gateway Burlington, Ontario CANADA L7L 5K7
 Attorney of Record        TERRENCE L.B. BROWN
 Prior Registrations       1822598
 Disclaimer                NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "AIR CELL" APART FROM THE MARK AS SHOWN
 Type of Mark              TRADEMARK
 Register                  PRINCIPAL
 Affidavit Text            SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20190826.
 Renewal                   1ST RENEWAL 20190826
 Live/Dead Indicator       LIVE




                                                      |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                            TROJAN EV000488
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.5                                                                                                 1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 62 of 65




                          EXHIBIT 28
9/29/22, 5:22 PMCase 4:21-cv-03075              Document 153-8    Filed
                                                           Trademark       on 06/20/23
                                                                     Electronic             in(TESS)
                                                                                Search System  TXSD Page 63 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                   Jump to record:
                              OR                                      Record 4 out of 20


                                              ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark                   TRUCK TROJAN
 Goods and Services          (ABANDONED) IC 012. US 019 021 023 031 035 044. G & S: Cargo storage bins especially adapted to fit in trucks or SUVs
 Standard Characters Claimed
 Mark Drawing Code           (4) STANDARD CHARACTER MARK
 Serial Number               77377685
 Filing Date                 January 22, 2008
 Current Basis               1B
 Original Filing Basis       1B
 Owner                       (APPLICANT) Dan C. Savage INDIVIDUAL UNITED STATES 577 Galleywinter Lane Waco TEXAS 76708
 Attorney of Record          Thomas C. Hancock
 Type of Mark                TRADEMARK
 Register                    PRINCIPAL
 Live/Dead Indicator         DEAD
 Abandonment Date            October 30, 2008




                                                 |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                   TROJAN EV000489
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804%3A73mzu2.3.4                                                                               1/1
Case 4:21-cv-03075 Document 153-8 Filed on 06/20/23 in TXSD Page 64 of 65




                          EXHIBIT 29
9/29/22, 5:18 PMCase 4:21-cv-03075                Document 153-8    Filed
                                                             Trademark       on 06/20/23
                                                                       Electronic             in(TESS)
                                                                                  Search System  TXSD Page 65 of 65
           United States Patent and Trademark Office

           Home|Site Index|Search|FAQ|Glossary|Contacts|eBusiness|eBiz alerts|News

  Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Sep 29 03:32:22 EDT 2022




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  Start List At:                      Jump to record:
                               OR                                       Record 3 out of 20


                                                 ( Use the "Back" button of the Internet Browser to return to TESS)




 Word Mark           TROJAN TARPS
 Goods and           (CANCELLED) IC 012. US 019 021 023 031 035 044. G & S: Structural parts for trucks, namely, tarpaulins and tarpaulin parts specially
 Services            designed for trucks. FIRST USE: 20090415. FIRST USE IN COMMERCE: 20090528
 Standard
 Characters
 Claimed
 Mark Drawing
                     (4) STANDARD CHARACTER MARK
 Code
 Serial Number       77701614
 Filing Date         March 28, 2009
 Current Basis       1A
 Original Filing
                     1B
 Basis
 Published for
                     January 12, 2010
 Opposition
 Registration
                     3766348
 Number
 Registration Date   March 30, 2010
 Owner               (REGISTRANT) Bax Technologies LLC DBA BAX Technologies LLC LIMITED LIABILITY COMPANY PENNSYLVANIA 150 Midget Camp
                     Road Bolivar PENNSYLVANIA 15923
 Disclaimer          NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "TARPS" APART FROM THE MARK AS SHOWN
 Type of Mark        TRADEMARK
 Register            PRINCIPAL
 Live/Dead
                   DEAD
 Indicator
 Cancellation Date November 4, 2016




                                                   |.HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY




                                                                                                                       TROJAN EV000490
https://tmsearch.uspto.gov/bin/showfield?f=doc&state=4804:73mzu2.3.3                                                                                        1/1
